
PER CURIAM.
Edward Lee Gray appeals the trial court’s denial of his motion for post-conviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. In his motion, he alleges several grounds of ineffective assistance of trial counsel. Gray has raised facially sufficient claims for rule 3.850 relief that the trial court, by summarily denying the motion, has failed to conclusively refute. Consequently, we reverse and remand for further proceedings. On remand, if the trial court again enters an order summarily denying the post-conviction motion, the trial court shall attach written portions of the record conclusively refuting Gray’s claim. See Fla. R.App. P. 9.141(b)(2)(D) (requiring reversal by this court unless the record shows conclusively that the defendant is entitled to no relief).
Reversed and remanded.
